                 Case 23-11337               Doc 1        Filed 08/21/23 Entered 08/21/23 15:39:12                         Desc Main
                                                            Document     Page 1 of 12
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     District of Massachusetts           (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                              Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Lori
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          M.
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Bovarnick
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                           0    6    7    0
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                      _________________________________________________                    _________________________________________________
      Identification Number           EIN                                                                  EIN
      (EIN), if any.
                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:


                                           20 Old Planters Road                                           _________________________________________________
                                           _________________________________________________
                                           Number     Street                                              Number     Street


                                           _________________________________________________              _________________________________________________


                                           Beverly                              MA        01915
                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code

                                           Essex County                                                   _________________________________________________
                                           _________________________________________________
                                           County                                                         County


                                           If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                    any notices to this mailing address.


                                           _________________________________________________              _________________________________________________
                                           Number     Street                                              Number     Street

                                           _________________________________________________              _________________________________________________
                                           P.O. Box                                                       P.O. Box

                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                     Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I         Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other           have lived in this district longer than in any other
                                              district.                                                      district.

                                            I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
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 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            
                                            ✔
                                              Chapter 7
                                             Chapter 11
                                             Chapter 12
                                             Chapter 13

 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for    
                            ✔ No
      bankruptcy within the
      last 8 years?          Yes.             District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1      _______________________________________________________                                 Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor                 
                                              ✔ No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________         _______     __________________________
                                                       City                                                   State       ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above
                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13. Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
                                              
                                              ✔ No. I am not filing under Chapter 11.
    defined by 11 U.S. C. §
    1182(1)?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    For a definition of small
    business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
    11 U.S.C. § 101(51D).                             Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                    
                                              ✔ No
    property that poses or is
    alleged to pose a threat                   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                                   
                                                   ✔ No. Go to line 16b.
                                                    Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                   
                                                   ✔ Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17. Are you filing under
    Chapter 7?                                 No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                        No
                                       ✔
    administrative expenses
    are paid that funds will be         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                      1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                     
                                              ✔ 50-99                                     5,001-10,000                           50,001-100,000
    owe?                                       100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19. How much do you                           
                                              ✔ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                            $0-$50,000                               
                                                                                         ✔ $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    to be?                                     $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Lori M. Bovarnick
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    08/21/2023
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Joseph Butler                                                 Date          _________________
                                                                                                                                08/21/2023
                                                Signature of Attorney for Debtor                                               MM     /    DD / YYYY



                                                  Joseph Butler
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Joseph Butler
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 355 Providence Hwy
                                                _________________________________________________________________________________________________
                                                Number Street

                                                _________________________________________________________________________________________________

                                                 Westwood                                                        MA            02090-1909
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone (781)  636-3638
                                                               ______________________________        Email address
                                                                                                                     jgb@jgbutlerlaw.com
                                                                                                                      _________________________________________



                                                 544284                                                          MA
                                                ______________________________________________________ ____________
                                                Bar number                                              State




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Alexandra Holmes                                      Capybara Capital, LLC
37 Balcomb Street                                     6501 Congress Ave
Salem, MA 01970                                       Suite 140
                                                      Boca Raton, FL 33487

Alissa Marshall
13 Kings Road                                         Carmella Horlitz
Sharon, MA 02067                                      385 College Road
                                                      Concord, MA 01742

AMA
3131 Eastside Street                                  CFG Merchant Solutions
Suite 435                                             180 Maiden Lane
Houston, TX 77098                                     Suite 1502
                                                      New York, NY 10038

American Stone Design Inc.
4101 Archstone Ave                                    Charles J. Borque
Tewksbury, MA 01876                                   110 Kodiak Way
                                                      Unit 2825

Ana Cardona
20 Magazine Street                                    Charles River Landing Ltd
Boston, MA 02119                                      33 4th Street
                                                      Needham, MA 02194

Andrew Sacher
14 Richland Road                                      Chimdi Uchendu
Wellesley Hills, MA 02481                             23 Morly Street
                                                      Boston, MA 02119

Angelina Finley
13 Oak Street                                         Christopher and Christine Howe
Danvers, MA 01923                                     16 Windsor Road
                                                      Somerville, MA 02144

Ashley Meany
2 Anthony Ave                                         Chrome Capital Funding
Manchester, MA 01944                                  1130 Bedford Avenue
                                                      No 68
                                                      Brooklyn, NY 11216
Bailey Buchanan Nowak
Metaxas Brown Pidgeon LLP
10 Elm Street, 2nd Floor                              Credit One Bank NA
Danvers, MA 01923                                     PO Box 98875
                                                      Las Vegas, NV 89193

Birchwood Capital Partners
4 Reservoir Circle                                    Daniel Grosky
Pikesville, MD 21208                                  38 Orchard Hill Drive
                                                      Sharon, MA 02067

Boston Electric Solutions, Inc.
209 Eliot Street                                      Finlay Cabinetry
Milton, MA 02186                                      1551 Central Street
                                                      Stoughton, MA 02072

Canavan Plastering
539 West Water Street                                 First PREMIER Bank
Rockland, MA 02370                                    PO Box 1348
                                                      Sioux Falls, SD 57101-1348
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First Progress Card                                   Jonathan Bamel
PO Box 9053                                           64 Columbus Street
Johnson City, TN 37615-9053                           Newton Highlands, MA 02461


Frank Plati                                           Jonathan Helman, Esq
21 Tedesco Street                                     1340 Centre Street
Marblehead, MA 01945                                  Suite 205
                                                      Newton Center, MA 02459

Gabriel Oliveira
285 Commercial Street                                 Kelsey Kalitz
Braintree, MA 02184                                   3 Clinton Road
                                                      Revere, MA 02151

Granite Plus
9 Progress Avenue                                     Kris Snyder
Chelmsford, MA 01824                                  135 Ocean Ave West
                                                      Salem, MA 01970

Guaranty Fund Administrator,
Office of Consumer Affairs and Bus Regua              L.A.J. Construction Corp
501 Boylston Street, Suite 501                        18 Auburn Ave
Boston, MA 02116                                      Methuen, MA 01844


Howard Beader                                         Lane Goldberg
20 Old Planters Road                                  Goldberg Law
Beverly, MA 01915                                     4 Court Street , Suite 200A
                                                      Plymouth, MA 02360

Internal Revenue Service
P.O. Box 7346                                         Legacy Capital 26 LLC
Philadelphia, PA 19101-7346                           921 A N Bethlehem Pike
                                                      Unit 2
                                                      Ambler, PA 19002
James Mitchell
44 Michele Lane
Braintree, MA 02184                                   Legacy Capital LLC
                                                      200 Garden City Plaza
                                                      Suite 405
Jeanne Sweazy                                         Garden City, NY 11530
16 Edgewood Road
Middleton, MA 01949
                                                      Lily Amiri
                                                      59 Stonegate Drive
John A. Grasso                                        Plymouth, MA 02360
29 Willard Grant Road
Sudbury, MA 01776
                                                      LMD Construction and Design LLC
                                                      300 Second Avenue
John Oliver Irrigation                                Unit 3167
252 River Road                                        Needham, MA 02494
Unit 2
Winthrop, MA 02152
                                                      Mass Department of Revenue
                                                      Bankruptcy Unit
Jonathan Bamel                                        PO Box 9554
28 Winston Road                                       Boston, MA 02114
Newton Center, MA 02459
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Mass Franco Tile                                       Saba HVAC Services LLC
499A Hingham Street                                    89 Brookdale Circle
Rockland, MA 02370                                     Shrewsbury, MA 01545


Michael Colacino                                       Sarno Glass and Mirror Inc.
46 Burnside Street                                     15 Sullivan St
Medford, MA 02155                                      Revere, MA 02151


Michael J. Lombardi                                    Second Wind Consultants Inc.
Lombardi & Associates                                  17 New South St
111 Tremont St                                         Suite 304
Brighton, MA 02135                                     Northampton, MA 01060


Michael Lewis                                          Sharon Hale and Nikki Zeigle
209 Walnut Ave                                         17 Priest Road
Boston, MA 02119                                       Watertown, MA 02472


Mother Construction Corp                               Smooth Construction Services, Inc.
20 Old Planters Road                                   20 Heaths Ct
Beverly, MA 01915                                      N 102
                                                       Lynn, MA 01905

Needham Bank
1063 Great Plain Avenue                                Steven D'Angelo
Needham, MA 02492                                      151 Grove Street
                                                       Wellesley, MA 02482

Nicole Brietzke
140 Sesame Street                                      Steven Russian
Dracut, MA 01826                                       110 Elm Street
                                                       Milton, MA 02186

Office of Consumer Affairs and Business Regul
501 Boylston Street                                    T&H Hardwood Flooring, Inc.
Suite 5100                                             789 Lincoln St
Boston, MA 02116                                       Waltham, MA 02154


Paul and Marie Ripa                                    Timothy Rodden Jr.
34 Houghton Street                                     Upper Charles Law Group
Somerville, MA 02143                                   81 Hartwell Ave, Suite 101
                                                       Lexington, MA 02421

Prestige
246 Forest Street                                      Triton Recovery Group
Methuen, MA 01844                                      19790 W Dixie Highway
                                                       Suite 301
                                                       Miami, FL 33180
Prime Electrical
36 Briarwood Lane
Marlborough, MA 01752                                  U.S. Small Business Administration
                                                       10 Causeway Street
                                                       Boston, MA 02222
Quantum Mechanical LLC
34 Hawkes Street
Saugus, MA 01906                                       Vellox Construction Corp
                                                       1754 State Road
                                                       Plymouth, MA 02360
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Vesper G. Barnes
Law Office of Vesper Gibbs Barnes
10 Malcolm X Blvd, Suite 2
Boston, MA 02119


VIP Espinoza Painting, LLC
181 Washington Street
Apt 103
Somerville, MA 02143


Vivian Sternweiler
48 Turnstone Terrace
Stoughton, MA 02072


Whittemore's Landscape Design/Irrigation Inc.
305 Bedford St
East Bridgewater, MA 02333


Young and Son
2 Blossom Street
Woburn, MA 01801
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                              United States Bankruptcy Court
                              District of Massachusetts




         Lori M. Bovarnick
In re:                                                          Case No.

                                                                Chapter    7
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               08/21/2023                        /s/ Lori M. Bovarnick
Date:
                                                Signature of Debtor



                                                Signature of Joint Debtor
